
GLADNEY, Judge.
Jack Salmon, plaintiff and appellee herein suffered personal injuries in the accident of December 11, 1951,- on U. S. Highway 80 involving a truck in which he was a passenger. Our findings on the issues of fact and law given in Vowell v. Manufacturers Casualty Insurance Company, La.App., 73 So.2d 583, are equally applicable to the instant case and our decision therein is controlling here.
It is therefore ordered that the judgment from which appealed be and the same is hereby annulled, set aside and reversed and plaintiff’s action dismissed. It is further ordered that the judgment in favor of the intervenor is annulled, set aside and reversed and intervenor’s claim is denied. Costs to be prorated equally between plaintiffs.
AYRES, J., dissents, for the reason that he is of the opinion that the driver of defendant’s truck was guilty of negligence constituting a proximate cause of the accident
